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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION
 HOMELAND INSURANCE COMPANY                          §
 OF NEW YORK,                                        §
      Plaintiff,                                     §
                                                     §
 v.                                                  §           CIVIL NO. 1-20-CV-783-RP
                                                     §
 CLINICAL PATHOLOGY
                                                     §
 LABORATORIES, INC. and SONIC
                                                     §
 HEALTHCARE USA, INC.,
      Defendants.                                    §

                                                   ORDER

      Before the Court are Defendants’ Motion for Summary Judgment (Dkt. 63), filed October 14, 2021;

Plaintiff’s Motion for Oral Hearing (Dkt. 70), filed October 29, 2021; and the parties’ response and reply

briefs. On April 21, 2022, the District Court referred the motions to the undersigned Magistrate Judge for

Report and Recommendation and disposition, respectively, pursuant to 28 U.S.C. § 636(b)(1), Federal Rule

of Civil Procedure 72, and Rule 1 of Appendix C of the Local Rules of the United States District Court for

the Western District of Texas.

      Because the Court finds that a hearing on Defendants’ Motion for Summary Judgment would be

beneficial, Plaintiff’s Motion for Oral Hearing (Dkt. 70) is hereby GRANTED. Accordingly, the Court

ORDERS counsel of record to appear for a hearing on Defendants’ Motion for Summary Judgment

(Dkt. 63) on Tuesday, June 21, 2022 at 10 a.m. in Courtroom 6 on the Sixth Floor of the United States

Courthouse, 501 West Fifth Street, Austin, Texas. Counsel should be prepared to discuss the application of

the fortuity doctrine to the facts of this case.

      SIGNED on June 13, 2022.



                                                         SUSAN HIGHTOWER
                                                         UNITED STATES MAGISTRATE JUDGE
